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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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Jane Doe,

         Plaintiff,
                                     Case No.: Doe v. Black, Case No.:23-cv-06418 (JGLC)

    - against -

Leon Black,

         Defendant.
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Jane Doe
P.O. Box 286
Haymarket, VA 20168
202-407-6947
jane.doe06418@gmail.com

May 12, 2025

Via Email to: Temporary_Pro_Se_Filing@nysd.uscourts.gov

The Honorable Jessica G. L. Clarke
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Courtroom 11B
New York, NY 10007

Re:    Doe v. Black, Case No.: 23-cv-06418 (JGLC)
Letter Motion for Leave to File Letter and Supporting Materials Under Seal


Dear Judge Clarke:

Pursuant to Rule 5(e)(ii) of Your Honor’s Individual Practices and Section 6 of the Southern
District of New York’s Electronic Case Filing Rules & Instructions, I respectfully submit this
letter motion seeking leave to file under seal a forthcoming submission in response to recent
developments on the docket.
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Specifically, the proposed sealed filing will include a letter addressing concerns raised by a May
6, 2025 (ECF Doc. No. 259) filing by my former counsel, which contains references to and
excerpts from highly sensitive, personal information that is currently under seal before this
Court, as well as issues connected to an order issued by Your Honor on May 5, 2025 (ECF Doc.
No. 258). The submission includes a declaration, exhibit index, and supporting documentation
relevant to confidential communications, safety concerns and other sensitive matters related to
those filings.

The materials I seek to seal contain:
- Personally identifying information, including names and contact information of third parties not
affiliated with this case;
- Potentially privileged and confidential communications with former counsel, offered for the
limited purpose of responding to the above mentioned filings;
- Documents pertaining to ongoing prison investigations stemming from unsolicited contact by
several incarcerated individuals charged with violent crimes that include sexual offenses and
murder;
- Documents referencing third parties not before the Court.

I make this request narrowly and in good faith, consistent with Lugosch v. Pyramid Co. of
Onondaga, 435 F.3d 110 (2d Cir. 2006), which allows for sealing where the privacy interests and
risk of harm outweigh the presumption of public access. The sealing is especially justified here
due to:
(1) the presence of potential attorney-client privileged communications,
(2) the risk to personal safety and well-being
(3) the involvement of non-public investigative matters, and
(4) nonpublic details that implicate the rights of third parties

I respectfully request leave to file the entire submission—comprising the letter, declaration,
exhibit index, and supporting exhibits—under seal. I am prepared to submit redacted or
unredacted copies for in camera review as directed by the Court.

Thank you for your consideration of this request.

Respectfully submitted,


/s/ Jane Doe
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Jane Doe
Pro Se Plaintiff


The Court has reviewed Plaintiff's May 12, 2025 letter requesting to file a forthcoming
submission under seal. ECF No. 261. Plaintiff is permitted to file her forthcoming submission
under seal with access to all counsel of record. At this time, the Court does not see a reason to
receive Plaintiff's submission in camera or for the Court's view alone. Therefore, Plaintiff is
warned that any submission she makes, even if placed under seal, will be accessible to, and
viewable by, Defendant and his attorneys. To the extent Plaintiff seeks to share otherwise
privileged information with the Court, and the Court agrees that it is relevant and necessary to
review those communications, the Court will instruct Plaintiff regarding how to submit that
information privately. The Court also reminds Plaintiff that if the items she intends to raise in her
submission are relevant to Defendant's sanctions motion, she can and should raise those matters
in her opposition to that motion instead of a separate filing.



SO ORDERED.



JESSICA G. L. CLARKE
United States District Judge


Dated: May 14, 2025
      New York, New York
